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7    Attorneys for Plaintiff
     Federal Trade Commission
8
9                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
10
11    Federal Trade Commission,                          No. 22-cv-01973-CRB

12                   Plaintiff,                          Hearing: As soon as the matter may be
                                                         heard. The FTC respectfully requests that
13           v.                                          this matter be heard at the Court’s next
                                                         Civil Law & Motion calendar on Friday,
14    Intuit Inc.,                                       April 1, 2022 at 10:00 am. *

15                   Defendant.                          Re-Notice of Emergency Motion re:
                                                         Plaintiff’s Emergency Motion for
16                                                       Temporary Restraining Order and
                                                         Preliminary Injunction
17
18          Please take notice that, as soon as this matter may be heard, pursuant to Federal Rule of

19   Civil Procedure 65, Plaintiff, the Federal Trade Commission (“FTC”), will move this Court for a

20   temporary restraining order (“TRO”) and preliminary injunction pursuant to Section 13(b) of the

21   Federal Trade Commission Act, 15 U.S.C. § 53(b) (Dkt. No. 28). The FTC respectfully requests

22   that this matter be heard at the Court’s next Civil Law & Motion calendar on Friday, April 1,

23   2022 at 10:00 am.

24          The FTC files this notice pursuant to the Court’s Related Case Order (Dkt. No. 30),

25   which instructed that “any dates for hearing noticed motions are vacated and must be re-noticed

26   by the moving party before the newly assigned judge.”

27
      *
28       For reasons explained in the Motion (Dkt. No. 28), this matter is urgent. This year’s Tax Day
     is April 18. The FTC respectfully requests that this Court act on this Motion as expeditiously as
     is possible.

                                                                                       Document Title
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1           As fully explained in the FTC’s Emergency Motion for Temporary Restraining Order and
2    Preliminary Injunction (Dkt. No. 28), Plaintiff seeks Court intervention to immediately halt
3    Defendant Intuit Inc.’s deceptive advertising of TurboTax, a commonly-used online tax
4    preparation service that enables users to prepare and file their income tax returns. Intuit’s
5    advertising violates the FTC Act and should be put on hold to avoid victimizing consumers
6    during the end of tax filing season, when a substantial number of taxpayers file their returns, and
7    during the pendency of an administrative proceeding on the merits before the FTC. This motion
8    is supported by Exhibits docketed as Dkt. No. 7-3 through 7-13.
9
10                                                         Respectfully submitted,

11    Dated: March 30, 2022
                                                             /s/ James Evans
12                                                         Roberto Anguizola, IL Bar No. 6270874
                                                           Frances Kern, MN Bar No. 395233
13                                                         Rebecca Plett, VA Bar No. 90988
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19                                                         Attorneys for Plaintiff
                                                           Federal Trade Commission
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1                                    CERTIFICATE OF SERVICE
2           I hereby certify that on [date], I electronically filed the foregoing [document title] with
3    the Clerk of the Court using CM/ECF, which will cause a copy of the same to be served on the
4    following parties entitled to service:
5
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10         Attorney for Defendant Intuit, Inc.

11
12
                                                                 /s/ [name]
13                                                             [name]

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